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                                                       Hearing Date and Time: To Be Determined


                       UNITED STATES BANKRUPTCY COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK

                              Adversary Proceeding No. 20-01061-SHL


 COÖPERATIEVE RABOBANK U.A., New York
 Branch; BROWN BROTHERS HARRIMAN & CO.;
 BANK HAPOALIM B.M.; MITSUBISHI                          Hon. Sean H. Lane
 INTERNATIONAL CORPORATION; ICBC
 STANDARD BANK PLC; TECHEMET METAL
 TRADING, LLC; WOODFOREST NATIONAL
 BANK and HAIN CAPITAL INVESTORS
 MASTER FUND, LTD.,

                Plaintiffs,

 vs.

 CROWE LLP,

                Defendant.


              DEFENDANT’S UNOPPOSED MOTION FOR EXTENSION OF
            TIME TO ANSWER OR OTHERWISE RESPOND TO COMPLAINT

       Defendant Crowe LLP (“Crowe”), by its undersigned attorneys, respectfully moves for the

entry of an order granting it an extension of time until April 15, 2020, to answer or otherwise

respond to the Complaint. In support of this motion, Crowe respectfully states as follows:

       1.     On February 20, 2020, this matter was transferred from the U.S. District Court for

the Southern District of Florida to the U.S. District Court to the Southern District of New York

pursuant to 28 U.S.C. §1404. See Case No. 1:20-cv-01556-LGS, Dkt. 16.

       2.     On March 17, 2020, this matter was referred to this Court pursuant to 28 U.S.C. §

157(a). See Case No. 1:20-cv-01556-LGS, Dkt. 24.

       3.     The Defendant’s lead counsel was granted leave to appear pro hac vice on March
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19, 2020. See Adversary Proceeding No. 20-01061-SHL, Dkt. 11-15.

       4.        In light of the COVID-19 pandemic, counsel for the Defendant respectfully

requests an extension of time to and including April 15, 2020 to answer or otherwise respond to

the Complaint.

       5.        This requested extension will not cause any unfair prejudice to any party and is not

intended to cause any undue delay.

       6.        Counsel for Crowe has conferred with Andrew Solomon, counsel for the Plaintiffs,

concerning this requested extension. Mr. Solomon stated that the Plaintiffs have no objection to

this requested extension.

       7.        A proposed order granting this motion is attached as Exhibit A.

       8.        Prior to the filing of this motion, one of Crowe’s attorneys, John Fitzgerald, called

the Courtroom Deputy to request a hearing date but was unable to reach the Courtroom Deputy.

Mr. Fitzgerald left a detailed voicemail message for the Courtroom Deputy but has not yet received

a response, perhaps due to logistical challenges associated with COVID-19.

       WHEREFORE, Defendant Crowe LLP respectfully requests the entry of an order granting

it an extension of time until April 15, 2020, to answer or otherwise respond to the Complaint and

for any further relief deemed appropriate under the circumstances.




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Respectfully submitted,

CROWE LLP

By:     /s/ Stuart Kagen
      One of its Attorneys
                                                 Caesar A. Tabet, pro hac vice
Stuart Kagen                                     John M. Fitzgerald, pro hac vice
Joel M. Taylor                                   Jordan E Wilkow, pro hac vice
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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on March 20, 2020, I electronically filed the foregoing with the

Clerk of the Court using CM/ECF. I also certify that the foregoing document is being served this

day on all counsel of record on the Service List below via transmission of Notice of Electronic

Filing generated by CM/ECF.


                                                      /s/ Stuart Kagen


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                                              Counsel for Plaintiffs




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